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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:12CR3140-1
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
GRADY E. GARTMAN,                             )
                                              )
                     Defendant.               )

       IT IS ORDERED that:

       (1)    The government’s request for hearing is granted.

      (2)      A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing nos. 94 and 115) has been set before the undersigned United States district
judge on Tuesday, October 27, 2015, at 1:00 p.m., in Courtroom No. 2, United States
Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (3)    The defendant shall be present for the hearing.

       Dated October 22, 2015.

                                           BY THE COURT:

                                           Richard G. Kopf
                                           Senior United States District Judge
